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                            UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA


   SARA LEWIS and JAMES LEWIS, as trustees
   on behalf of the James and Sara Lewis Trust
   U/A 05/11/18, derivatively on behalf of Nominal   Case No. 0:23-cv-61974-RNS
   Defendant, NEXTERA ENERGY, INC.,

           Plaintiff,
   v.

   JOHN W. KETCHUM, et al.,

           Defendants,

   NEXTERA ENERGY, INC.,

           Nominal Defendant.



   AMY LAMBORN, derivatively on behalf of
   Nominal Defendant, NEXTERA ENERGY,
   INC.,                                             Case No. 9:23-cv-81471-AMC

           Plaintiff,
   v.

   JOHN W. KETCHUM, et al.,

           Defendants,

   NEXTERA ENERGY, INC.,

           Nominal Defendant.




        UNOPPOSED MOTION TO CONSOLIDATE RELATED DERIVATIVE ACTIONS
                       AND APPOINT CO-LEAD COUNSEL
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     I.       INTRODUCTION

           Plaintiffs Sara Lewis and James Lewis (as trustees on behalf of the James and Sara Lewis

  Trust U/A 05/11/18) (“Lewis”) and Amy Lamborn (“Lamborn”) (collectively, “Plaintiffs”),

  derivatively on behalf of Nominal Defendant, NextEra Energy, Inc. (“NextEra” or the

  “Company”), respectfully submit this Memorandum of Law in support of their motion to (1)

  consolidate the above-captioned shareholder derivative actions (the “Related Actions”); and (2)

  appoint SteinLaw Florida, PLLC (“SteinLaw”) and Morris Kandinov LLP (“Morris Kandinov”)

  as Co-Lead Counsel for Plaintiffs.

           Consolidation is appropriate because the Related Actions arise out of the same alleged

  breaches of fiduciary duty by the same Defendants based on the same underlying misconduct and

  involve common issues of law. Consolidation will streamline the proceedings and save judicial

  resources. Plaintiffs, who have agreed to work together for benefit of all NextEra shareholders,

  also submit that to ensure the efficient litigation of the Related Actions their counsel, SteinLaw

  and Morris Kandinov, should be appointed Co-Lead Counsel. A copy of the firm resumes of

  SteinLaw and Morris Kandinov are submitted herewith as Exhibits 1 and 2, respectively, setting

  forth their experience and qualifications.

     II.      STATEMENT OF FACTS

           The Related Actions allege that the officers and directors NextEra inter alia violated

  Section 14(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and breached their

  fiduciary duties by intentionally and/or recklessly making or allowing the dissemination of

  materially false and misleading statements concerning the Company and its subsidiary Florida

  Power and Light Co.’s (“FPL”) political activities and compliance with campaign finance laws. ¶¶
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  1-3.1 The Related Actions allege that in the face of widespread public reports of political

  misconduct and violations of campaign finance laws from 2021 into 2023, Defendants falsely

  claimed the Company was not exposed to any meaningful legal or occupational risk when they

  knew it was. ¶ 5. The Related Actions also allege Defendants failed to maintain adequate internal

  controls with respect to NextEra and FPL’s compliance with campaign finance laws and the

  accuracy of NextEra’s financial reporting. ¶¶ 8, 170.

         On January 25, 2023, FPL reported that its President and CEO, Eric Silagy, who also served

  as CEO of NextEra, would resign the following month. On the same day, NextEra filed a Form

  8-K with the SEC specifically acknowledging that FPL faced legal and reputational risks because

  of the allegations that FPL executives had orchestrated political misconduct, stating inter alia that

  “FPL’s and [NextEra’s] business and reputation could be adversely affected by allegations that

  FPL or [NextEra] has violated laws…[f]or example, media articles have been published that allege,

  among other things, Florida state and federal campaign finance law violations by FPL.” ¶ 6. On

  this news, NextEra’s stock dropped $7.31 per share, or about 8.7%, representing a loss of

  approximately $15 billion in market capitalization on unusually high trading volume. Analysts

  expressly linked NextEra’s stock price drop to the risks posed by FPL’s political misconduct. ¶ 7.

         As a result of the foregoing, a securities class action was filed against the Company and

  Defendants James Robo, Eric Silagy, and David P. Reuter captioned Jastram v. NextEra Energy,

  Inc., et al., 9:23-cv-80833-AMC (S.D. Fla.) (the “Securities Class Action”), which has exposed

  the Company to massive liability. ¶¶ 8-9.




  1
   References to “¶ _” refer to the allegations in the Lewis’ complaint. Lewis, et al. v. Kethcum, et
  al., Case No. 23-cv-61974-RNS (S.D. Fla.) (ECF No. 1) (the “Lewis Action”)
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     III.      PROCEDURAL HISTORY

            On October 17, 2023, Lewis filed their complaint alleging that certain of NextEra’s officers

  and directors (the “Individual Defendants”) breached their fiduciary duties owed to the Company,

  were unjustly enriched, and violated Section 14(a) of the Exchange Act in connection with the

  materially misleading statements described above. Lewis Action, ECF No. 1.

            On November 7, 2023, Lamborn filed her complaint alleging that the Individual

  Defendants breached their fiduciary duties, were unjustly enriched, and violated Section 14(a) of

  the Exchange Act in connection with the same underlying misconduct at issue in the Lewis Action.

  See Lamborn v. Ketchum, et al., Case No. 9:23-cv-81471-RNS (S.D. Fla.), Dkt. No. 1 (the

  “Lamborn Action”). The civil cover sheet filed in the Lamborn Action identified the Lewis Action

  and the Securities Class Action as related. Id.

            The parties have met and conferred, and Defendants do not oppose consolidation of the

  Related Actions. Accordingly, and for the additional reasons set forth below, Plaintiffs hereby

  moves to consolidate the Related Actions and for the appointment of Co-Lead Counsel.

     IV.       ARGUMENT

               A. The Court Should Consolidate The Related Actions

            The Court may consolidate actions if they involve common questions of law or fact. Fed.

  R. Civ. P. 42(a). The power to consolidate related actions falls within the Court’s broad authority

  “to control the disposition of the causes of action on its docket with economy of time and effort

  for itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). When

  two causes of action involve common witnesses, identical evidence, and similar issues, judicial

  economy will generally favor consolidation. See e.g., Millman v. Brinkley, 2004 U.S. Dist. LEXIS

  20113, *5-6 (N.D. Ga. Oct. 1, 2004); Pipefitters Local No. 636 Defined Ben. Plan v. Bank of
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  America Corp., 275 F.R.D. 187, 192 (S.D.N.Y. 2011) (“Differences in claims [or] defendants . . .

  do not render consolidation inappropriate if the cases present sufficiently common questions of

  fact and law, and the differences do not outweigh the interests of judicial economy served by

  consolidation.”).

         “Consolidation of similar shareholder derivative actions can be particularly beneficial to

  courts and parties by expediting pretrial proceedings, avoiding needless duplication, and

  minimizing expenditure of time, effort, and money.” Nally v. Reichental, 2017 WL 1135122, at

  *2 (D.S.C. Mar. 27, 2017) (citing MacAlister v. Guterma, 263 F.2d 65, 68 (2d Cir. 1958)). Courts

  routinely consolidate shareholder derivative actions. E.g., Heed v. Miller, 2018 WL 1532955, at

  *2 (E.D. Pa. Mar. 28, 2018) (consolidating four shareholder derivative actions); Millman v.

  Brinckley, 2004 U.S. LEXIS 20113 at *2 (consolidating three shareholder derivative actions).

         Here, the Related Actions each allege breaches of fiduciary duty arising out of the same

  conduct: the misleading statements regarding NextEra’s legal risk and compliance, and the

  adequacy of its internal controls. ¶ 8. Plaintiffs further allege claims of unjust enrichment, waste,

  and violations of Section 14 of the Exchange Act—all of which arise from the same misconduct

  as the breaches of fiduciary duty. Thus, the Related Actions each raise substantially similar legal

  questions, including whether defendants breached their fiduciary duties to NextEra, and would

  involve essentially the same motion practice, discovery, witnesses, documentary evidence, and

  trial considerations. See KBC Asset Mgmt. NV v. McNamara, 78 F. Supp. 3d 599, 602-03 (D. Del.

  2015) (consolidating two derivative actions alleging “common (though not identical) facts” against

  “nearly identical” defendants). Accordingly, consolidation of the Lamborn Action with the first-

  filed Lewis Action is appropriate.
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             B. The Court Should Appoint SteinLaw and Morris Kandinov as Co-Lead
                Counsel For Plaintiffs

         When, as here, there is a “multiplicity” of such shareholder derivative suits, courts are

  “allowed to combine procedures, appoint lead counsel, recognize steering committees of lawyers,

  limit and manage discovery, etc. to minimize expense to all litigants and to provide judicial

  efficiency.” In re Showa Denko, K.K. L-Tryptophan Prods. Liab. Litig.-II, 953 F.2d 162, 165 (4th

  Cir. 1992). The appointment of lead counsel has proved to be of great benefit to judicial economy

  and efficiency in complex, consolidated cases. In re Centurylink Sales Practices & Sec. Litig.,

  MDL 17- 2795, 2019 U.S. Dist. LEXIS 68679, at *7 (D. Minn. Apr. 23, 2019) (quoting In re

  Baycol Prods. Litig., No. 02-0200, 2007 U.S. Dist. LEXIS 51418, at *2 (D. Minn. July 13, 2007)).

         The guiding principle is who will best serve the interests of plaintiffs. Millman ex rel.

  Friedman’s, Inc. v. Brinkley, No. 1:03-cv-58, 2004 U.S. Dist. LEXIS 20113, at *9 (N.D. Ga. Oct.

  1, 2004); Fed. R. Civ. P. 23.1(a). Other factors include the quality of the pleadings, the economic

  interest of the plaintiffs, and the vigor with which the plaintiffs have prosecuted their lawsuits.” In

  re Centurylink Sales Practices & Sec. Litig., 2019 U.S. Dist. LEXIS 68679, at *8 (quoting

  Freeman v. Musk, 324 F.R.D. 73, 88 (D. Del. 2018) (citation omitted)). The complaints in both

  Related Actions are detailed and would survive a motion to dismiss, plaintiffs have vested

  economic interests in this litigation by virtue of the ownership of NextEra stock, and counsel for

  Plaintiffs have demonstrated vigorousness even at this early stage.

         Indeed, counsel for Plaintiffs, SteinLaw and Morris Kandinov, agreed to work together

  cooperatively for the benefit of Plaintiffs and all other NextEra shareholders, which courts have

  recognized is an “indication of their interest in vigorously pursuing the interest of those

  represented.” In re Foundry Networks Derivative Litig., 2007 U.S. Dist. LEXIS 13148, at *5 (N.D.

  Cal. Feb. 12, 2007); see also Kubiak v. Barbas, Case No. 11-cv-141, 2011 U.S. Dist. LEXIS 65903,
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  at *9 (S.D. Ohio June 14, 2011) (noting an “essential attribute for Lead Counsel” is “to be

  inclusive” with competing plaintiffs and appointing as Lead the firms that “made the most

  concerted effort to be inclusive”); Nicolow v. Hewlett Packard Co., 2013 U.S. Dist. LEXIS 29876,

  at *30 (N.D. Cal.) (appointing co-lead counsel that suggested “on multiple occasions to joint

  prosecution and a co-plaintiff leadership structure.”).

         SteinLaw and Morris Kandinov have earned reputations for excellence and success in

  shareholder derivative actions and complex litigation. See SteinLaw Firm Resume, Ex. 1; Morris

  Kandinov Firm Resume, Ex. 2. The attorneys have a strong background in shareholder rights as

  well as a demonstrated ability to successfully litigate substantive pretrial motions. The firms have

  the requisite knowledge of the applicable substantive law and are well suited to navigate the

  procedural challenges that arise in complex litigation.

         For example, SteinLaw served as co-lead counsel in a case against a large, Florida-based,

  public restaurant group and its board of directors for breach of fiduciary duties in connection with

  a going private transaction where, as part of the settlement, the defendants provided the public

  shareholders with additional material information about the transaction, helping the shareholders

  hold out for an additional $68 million in consideration for their shares, Charter Township of

  Clinton Police and Fire Ret. Sys. v. OSI Rest. Partners, Inc., et al., 06-CA-010348 (Fla. 13 Cir.

  Ct.); SteinLaw also served as co-lead counsel in the $25 million settlement of a shareholder case,

  after nearly two years of intense litigation in the Delaware Chancery Court, and just two months

  prior to trial, In re UnitedGlobalCom Shareholders Litigation, No. 1012-N (Del. Ch.); and Mr.

  Stein was also counsel for plaintiffs in In re Clear Channel Outdoor Holdings, Inc. Derivative

  Litigation, where the defendants provided substantial benefits to the shareholders, which included

  a $200 million dividend and other valuable corporate governance reforms, No. 7315-CS (Del. Ch.).
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          Morris Kandinov served as co-counsel in a $7.5 million derivative settlement in behalf of

  Granite Construction Incorporation for litigation arising from $338 million in cost overruns

  concealed from investors, Davydov v. Roberts, 2021-0415-SG (Del. Ch.); Morris Kandinov served

  as co-lead counsel in a $12.5 million class settlement to resolve dispute related to FAST Acquisition

  Corp.’s failed attempt to buy Landry’s restaurants and the Golden Nugget casinos (pending court approval),

  Special Opportunities Fund, Inc. v. FAST Acquisition Corp., et al., No. 2022-0702 (Del. Ch.);

  Morris Kandinov served as co-counsel in a $110 million class settlement reached in suit over $8.7

  billion GCI Liberty, Inc. merger, Hollywood Firefighters' Pension Fund v. GCI Liberty Inc., 2020-

  0880-SG (Del. Ch.); Morris Kandinov is serving as class counsel on behalf of a certified class of

  investors of Pioneer Merger Corp. in breakup fee dispute, Funicular Funds, LP v. Pioneer Merger

  Corp. et al, No. 1:2022cv10986 (S.D.N.Y. 2023).)

          SteinLaw and Morris Kandinov are committed to vigorously prosecuting the Related

  Actions to obtain the best result for NextEra and its shareholders, and they have demonstrated their

  commitment by their actions thus far. Plaintiffs have engaged in a sound litigation strategy that

  resulted in the filing of well-informed complaints and demonstrating their willingness to work

  cooperatively and evenly with each other. Accordingly, SteinLaw and Morris Kandinov should

  be appointed Co-Lead Counsel.

              C. The Parties Will Meet and Confer and Submit To The Court Within 30 Days
                 A Status Update Or A Schedule For Further Proceedings

          Once the Related Actions are consolidated, counsel for all parties have agreed to file a joint

  motion to stay these proceedings until the earlier of (i) an announcement that the parties in the

  Securities Class Action have reached a settlement; (ii) final dismissal of all claims in the Securities

  Class Action with prejudice; or (iii) for good cause shown upon an application to lift the stay by

  either or both parties.
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     V.      CONCLUSION

          In the interest of judicial economy and for the reasons set forth above, Plaintiffs

  respectfully request that the Court enter an Order consolidating the Related Actions and appointing

  SteinLaw and Morris Kandinov as Co-Lead Counsel.



   Dated: January 9, 2024                           Respectfully submitted,

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                             LOCAL RULE 7.1.A.3 CERTIFICATION

          Counsel for Plaintiffs have conferred with counsel for Defendants and Counsel for

   Defendants joins in the request that the Court consolidate the Related Actions and takes no position

   on the request that the Court appoint Plaintiff’s counsel as Co-Lead Counsel.



                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on the 9th day of January 2024, I electronically filed the

   foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

   document is being served this day on all counsel of record identified on the attached Service List

   in the manner specified, either via transmission of Notices of Electronic Filing generated by

   CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

   to receive electronically Notices of Electronic Filing.


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